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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


GOVERNMENT OF THE UNITED
STATES VIRGIN ISLANDS,

                         Plaintiff,

v.

JPMORGAN CHASE BANK, N.A.,
                                                 Case No. 22-cv-10904 (JSR)
                         Defendant/Third-Party
                         Plaintiff.


JPMORGAN CHASE BANK, N.A.,

Third-Party Plaintiff,

v.

JAMES EDWARD STALEY,

Third-Party Defendant.




          JPMORGAN CHASE BANK, N.A.’S MEMORANDUM OF LAW
              IN SUPPORT OF PARTIAL SUMMARY JUDGMENT
     AGAINST THE GOVERNMENT OF THE UNITED STATES VIRGIN ISLANDS
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                                 PRELIMINARY STATEMENT

        This is not a case about Jeffrey Epstein’s victims. This is a case in which a complicit

governmental actor, the United States Virgin Islands (USVI), knowingly used its sovereign powers

to enable Epstein’s sex crimes, including by soliciting his input on its own sex offender legislation,

waiving sex offender monitoring requirements for him, facilitating the provision of ESL classes

and visas that allowed him to bring victims to USVI, and actively looking the other way whenever

he arrived at USVI airports accompanied by young women and girls. Rather than account for its

own failures to investigate and monitor this criminal under its jurisdiction and to protect its citizens

and sovereign interests, USVI blames a third-party bank that did not have USVI’s authority to

enforce any law, nor USVI’s knowledge of Epstein’s crimes in USVI’s territory, and seeks to

pursue such claims at the expense of dragging Epstein’s victims through yet more litigation. At

trial, JPMC will thoroughly refute USVI’s claims and also lay bare how USVI created a haven for

Epstein’s criminal activity. That is not for resolution now.

        Now that fact and expert discovery are complete, JPMC moves for summary judgment on

three grounds, none of which requires resolution of the contested portions of the record—and

which together dictate the proper scope of this case going forward.

        First, USVI cannot seek monetary relief. The government has now expressly disclaimed

any damages related to its territorial or quasi-sovereign interests—the only category of damages

to which it could be entitled as parens patriae. Rather, USVI now claims solely the same damages

available to (and, in fact, already obtained by) victims—the category of damages which parens

patriae law expressly forbids. Even if USVI conjures up a new compensatory theory, Second

Circuit precedent would bar this novel claim given the express releases already in place as part of

JPMC’s settlement with the nationwide class of Epstein’s victims. With no claim to compensatory

damages, USVI has no claim to punitive damages either. Nor can USVI, as a civil plaintiff, pursue


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fines or penalties that are exclusively available to the United States government in criminal actions.

Even if USVI could overcome these hurdles and lay claim to victims’ personal damages, the offsets

required by its collection of settlement pay outs from Epstein’s estate and              reduce those

damages to nothing.

       Second, USVI cannot proceed on its obstruction claim as a matter of law. To be clear,

USVI does not allege that JPMC obstructed a USVI investigation into Epstein—USVI facilitated

Epstein’s conduct, but never investigated any of it. Instead, USVI claims that it is entitled to relief

because JPMC allegedly obstructed a federal TVPA investigation. But that claim must be brought

by the federal government itself or, at most, the individual victims—USVI is neither. Regardless,

the record is devoid of any fact suggesting that JPMC intentionally obstructed a TVPA

investigation. To the contrary, the uncontested record shows that JPMC provided federal officials

with Epstein-related information for years. No reasonable juror could find intentional obstruction

on these facts, and summary judgment should enter accordingly.

       Finally, principles of retroactively severely limit USVI’s ability to rely upon conduct prior

to December 2008 to prove its claims. The TVPA’s obstruction cause of action was first enacted

in December 2008 and can have no retroactive application to alleged pre-2008 conduct.

Separately, prior to December 2008, only “knowing” violations of the TVPA were civilly

actionable. To the extent that USVI argues JPMC “recklessly disregarded” Epstein’s crimes prior

to 2008, it is squarely precluded by Second Circuit and this Court’s rulings regarding limitations

on retroactive application of the TVPA.

                                         BACKGROUND

       The minimal background relevant to this motion is straightforward and provided in JPMC’s

opposition to USVI’s motion to strike (Dkt. 186), in the accompanying LR 56.1 Statement of

Material Facts (SUMF), and in the argument below. In short, USVI brings two claims pursuant to


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18 U.S.C. § 1595(d)’s provision of a “civil remedy” to State attorneys general. First, USVI brings

a claim for a violation of 18 U.S.C. § 1591(a)(2), alleging that JPMC knowingly benefited from

participating in a sex trafficking venture with “knowledge or reckless disregard of the fact” that

Jeffrey Epstein trafficked underage girls and used force, fraud, and coercion to traffic women.

(Count I). Second Am. Compl. (“SAC”) (Dkt. 119) ¶¶ 102-119. Second, USVI brings a claim for

a violation of 18 U.S.C. § 1591(d), alleging that JPMC intentionally obstructed enforcement of the

TVPA (Count V). Id. ¶¶ 147-168. Despite the fact that the TVPA included neither a reckless

disregard clause nor an obstruction provision until 2008, see infra III.A-B, USVI alleges that

JPMC’s violations date back to 2003. Id. ¶¶ 42, 75.

                                       LEGAL STANDARD

       Summary judgment must be granted if “there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “[S]ummary

judgment may be requested not only as to an entire case but also as to a claim, defense, or part of

a claim or defense.” Fed. R. Civ. P. 56 advisory committee’s note to 2010 amendment; Fed. R.

Civ. P. 56(a) (allowing summary judgment on a “part of each claim or defense”). Indeed, “[t]he

freedom to use summary judgment procedure to address particular issues or elements of a claim is

an important feature of Rule 56, making it a much more useful case management device.” 11

Moore’s Federal Practice—Civil § 56.122.

                                           ARGUMENT

I.     USVI DEMANDS UNAVAILABLE CATEGORIES OF RELIEF

       Like any plaintiff, USVI “‘must demonstrate standing for each claim [it] seeks to press and

for each form of relief that is sought.’” Town of Chester v. Laroe Ests., Inc., 581 U.S. 433, 439

(2017). In its July 14 Letter Brief, Dkt. 205, filed in response to this Court’s request for “precisely

what interests USVI is seeking to vindicate—and what damages USVI claims,” Dkt. 204 at 1-2,


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USVI confirmed it is seeking legally unavailable categories of damages which it has no standing

to pursue. Summary judgment should enter in JPMC’s favor on all of USVI’s damages claims.

See Boise v. Boufford, 121 F. App’x 890, 892 (2d Cir. 2005) (affirming summary judgment for

defendant on category of damages unavailable to plaintiff as a matter of law).

        A.       USVI Cannot Recover Victims’ Compensatory Damages

        The relief USVI seeks is limited by its parens patriae role in this case. The bedrock

principle of parens patriae is a state interest that stands “apart from the interests of particular

private parties.” Alfred L. Snapp & Son, Inc., v. P.R. ex rel. Barez, 458 U.S. 592, 607 (1982)

(emphasis added). An “alleged … injury to an identifiable group of individual residents” is

insufficient. Id. As such, USVI’s damages claims survived the motion to dismiss solely because

USVI sought damages to redress alleged harm “suffered by the Government.” SAC ¶ 119; id.

¶ 168 (alleging “harm to the Virgin Islands”); SUMF ¶ 52 (originally claiming damages “as

suffered by the Government”). This Court held that USVI had standing as parens patriae to pursue

such damages because USVI—similar to Puerto Rico’s suit for discrimination in Snapp—claimed

an intention to quell the “harmful effects of criminal sex-trafficking” in its territory. MTD Order

18 (“MTD Order”) Dkt. 130. In contrast, the Court was clear that USVI cannot pursue damages

that are available to victims individually. MTD Order 17 (“States and territories that seek to sue

parens patriae must … seek relief to the territory’s injury that would be unavailable to individual

plaintiffs.”).

        This case proceeded through discovery with this understanding. Then, the day after fact

discovery closed, USVI sawed off the branch it was sitting on, abandoning “proprietary damages

of any kind in this action.” SUMF ¶ 52. Where previously it sought “tax revenue lost to the Virgin

Islands,” it now seeks only damages “on behalf of victims and residents of the United States Virgin

Islands.” Id. at 6. And in its Letter Brief, as well as a third supplemental discovery response


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served a few days later, USVI confirmed this position. Dkt. 205 at 1; SUMF ¶ 52 (“The

Government seeks compensatory, consequential, general, and nominal damages, as suffered by

Jeffrey Epstein’s victims … . ” (emphasis added)). Such a reversal would be remarkable in any

litigation. Here, it is also fatal to USVI’s damages theory—parens patriae damages sought solely

“on behalf of victims” is precisely what Snapp, Second Circuit precedent, and this Court’s Motion

to Dismiss order squarely forbids. No state or territory can “merely litigate as a volunteer the

personal claims of its competent citizens.” New York by Vacco v. Operation Rescue Nat’l, 80 F.3d

64, 71 (2d Cir. 1996) (quoting New York by Abrams v. Seneci, 817 F.2d 1015, 1017 (2d Cir. 1987)).

Yet USVI now concedes this is exactly its goal.

       There are two threshold defects in USVI’s new damages theory. First, USVI can only sue

to vindicate the interests of “residents,” 18 U.S.C. § 1595(d), and here it has no proof that any

victim was a resident of the USVI (rather than a person trafficked to or from the Islands). See

Martinez v. Bynum, 461 U.S. 321, 330 (1983) (noting that residency “generally requires both

physical presence and an intention to remain” indefinitely (emphasis added)). Second, USVI’s

demand for damages “on behalf of victims” ignores the fact that victims have already obtained

damages in the two related cases. Dkt. 95, Doe 1 v. Deutsche Bank Aktiengesellschaft (“Doe 1 v.

Deutsche Bank”), No. 1:22-cv-10018-JSR (S.D.N.Y. June 27, 2023); Dkt. 183, Doe 1 v. JPMorgan

Chase Bank, N.A. (“Doe 1 v. JPMC”), No. 1:22-cv-10019-JSR (S.D.N.Y. June 29, 2023). Even

were USVI permitted to recover for itself damages suffered by others—it is not—JPMC should

not pay those damages twice: first to actual victims, then again to the territory that failed them and

protected Epstein. As this Court observed at the fairness hearing in Doe 1 v. JPMC: “Here [i.e.,

the Doe litigation] we have two very large settlements. … [W]hat point would there be in having

the Virgin Islands say, well [‘]we’re going to take a little bit of what we got for the injuries that




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were visited on the Virgin Islands and add that to what the victims got, even though they have

agreed through the settlement to release JPMorgan from any further recovery.’” SUMF ¶ 54. The

Court’s question answers itself: there would be no point. “Parens patriae standing [] requires a

finding that individuals could not obtain complete relief through a private suit.” New York by

Abrams v. 11 Cornwell Co., 695 F.2d 34, 40 (2d Cir. 1982), vacated on other grounds, 718 F.2d

22 (2d Cir. 1983). Here the individuals not only “could” obtain relief through a “private suit”—

they did.

        In its Letter Brief, USVI appeared to recognize the danger posed by the class settlements

to its goal of extracting additional pay-outs, and so insisted that it still “controls” the victims’

claims no matter this Court’s exercise of jurisdiction over the settlement process. Dkt. 205 at 5.

USVI wholly ignores the Second Circuit’s precedential bar to its newest argument. When

“plaintiffs agree[] to release [their] claims,” as the classes have done in this case, this “bar[s] the

states from bringing … claims derivative of the plaintiffs’ rights.” In re Baldwin-United Corp.,

770 F.2d 328, 336-337 (2d Cir. 1985) (emphasis added) (approving injunction against state

lawsuits pending approval of class settlement). “Whether a state represent[s] itself to be acting as

a ‘sovereign’ … or described its prayer as one for ‘restitution’ or a ‘penalty’ would make no

difference if the recovery sought by the state was to be paid over to the plaintiffs.” Id. So too

here.

        Regardless, USVI cannot collect victims’ damages here. The Second Circuit’s decisions

in Seneci and Operation Rescue explain why. In Seneci, New York invoked parens patriae

standing to seek damages arising from an allegedly fraudulent scheme involving video games.

Critically, New York did not seek damages “for an injury to a quasi-sovereign interest of the state

itself—for example, an injury to the general economy of the state.” 817 F.2d at 1017. Instead,




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New York sought redress “solely for injury to … the state’s citizens.” Id. The “issue,” therefore,

was “whether the state has standing to sue in a representative capacity to recover those damages.”

Id. The Court held that “it does not.” Id. Where a state “only seeks to recover money damages

for injuries suffered by individuals, the award … will not compensate the state for any harm done

to its quasi-sovereign interests,” and as such, “the state as parens patriae lacks standing[.]” Id.

       Indeed, even if the state invokes general injuries to the “well-being of all its citizens” (as

USVI surely will in response), that is still insufficient. Id. The standing inquiry is relief-specific,

and when (as here) “the monetary relief sought … is not designed to compensate the state for those

[i.e. sovereign] damages,” vague invocations of state interests “cannot serve as the foundation for

the state’s authority to act … as a representative of its citizens.” 817 F.2d at 1017-1018; Town of

Chester, 581 U.S. at 439 (plaintiffs “‘must demonstrate standing for each claim [it] seeks to press

and for each form of relief that is sought’”).

       The Second Circuit reached a similar conclusion in Operation Rescue. There again, New

York invoked parens patriae standing to seek damages allegedly suffered by individual third

parties (specifically, costs suffered by a clinic stemming from an illegal protest). The district court

had awarded such damages, but the Second Circuit reversed—explaining again that a state’s

standing “does not extend to the vindication of the private interests of third parties,” and that when

a “damages award … [is] designed solely to reimburse [third parties] for harm to their interests,”

“such relief [is] … invalid.” Operation Rescue, 80 F.3d at 71-72. The Court affirmed the guiding

principle in Snapp that any state invoking parens patriae standing “must articulate an interest apart

from the interests of particular private parties.” Id. at 71 (quoting Snapp, 458 U.S. at 607).

Otherwise, as this Court explained in its prior order, parens patriae standing is unavailable. MTD

Order 17-18.




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       Because USVI has no compensatory damages, it has no punitive damages. “[P]unitive

damages … cannot be invoked without some compensatory injury.” Virgilio v. City of N.Y., 407

F.3d 105, 117 (2d Cir. 2005). “Once a claim for compensatory damages is barred, the possibility

of a punitive award is likewise relinquished.” Id. Nothing about the TVPA abrogates this

common-law principle.      Moreover, awarding punitive damages untethered to compensatory

damages would run afoul of the “principle that exemplary damages must bear a ‘reasonable

relationship’ to compensatory damages.” BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 580 (1996).

Courts must consider the ratio between compensatory and punitive damages when evaluating the

constitutional validity of any punitive damages award. Id. But here, USVI has disavowed any

compensatory damages of its own and cannot commandeer those of the victims, as explained

above. There can be no ratio whose denominator is zero.

       Nor can USVI—in the name of “deterrence”—seek a free-floating punitive damages award

that bears no relationship to an actual injury. This would be nothing more than a “criminal penalty

in the guise of civil relief”—a “criminal penalty” USVI cannot seek to impose in this civil case.

United States v. Priv. San. Indus. Ass’n of Nassau/Suffolk, Inc., 793 F. Supp. 1114, 1151 (E.D.N.Y.

1992). As explained below, the TVPA does not allow the USVI to bring a claim for criminal

penalties or civil fines. And to interpret the TVPA’s provision of parens patriae standing in 2018

to sub silentio allow for quasi-criminal punitive damages for pre-2018 conduct would violate the

“Ex Post Facto Clause [which] flatly prohibits retroactive application of penal legislation.”

Landgraf v. USI Film Prods., 511 U.S. 244, 266 (1994). “The very labels given ‘punitive’ or

‘exemplary’ damages, as well as the rationales that support them, demonstrate that they share key

characteristics of criminal sanctions.” Id. at 281. “Retroactive imposition of punitive damages

would raise a serious constitutional question,” id., and cannot be applied here.




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states authority to prosecute federal laws and seek their penalties when it wants to. E.g., 18 U.S.C.

§ 248(c)(3) (authorizing states to seek “civil penalties” against those who violate federal laws that

prohibit impeding access to reproductive health services); 12 U.S.C. § 5538 (authorizing states to

seek “restitution” and “penalties” for violations of regulations promulgated by the CFPB or FTC);

15 U.S.C. § 6309(c) (authorizing states to seek “fines” for violations of the Professional Boxing

Safety Act); 49 U.S.C. § 14711 (authorizing states to impose “civil penalties” for violations of

federal motor carrier safety laws).3

       Here, Congress spoke clearly: USVI may only bring “a civil action,” and obtain “relief.”

18 U.S.C. § 1595(d). It said nothing—and thus intended nothing—with respect to the fines,

penalties, and imprisonment that federal prosecutors may seek in criminal cases that charge 18

U.S.C. § 1591. Thus, like any civil plaintiff, “the government may not obtain … [a] criminal

penalty” in a civil case, nor “impose a criminal penalty under the guise of civil relief.” Priv. San.

Indus., 793 F. Supp. at 1151; see also Williams v. Messa, 2022 WL 2110198, at *9 (E.D. Cal. June

10, 2022) (“[T]he sections cited by Plaintiff under Title 18 [including § 1589] provide for fines,

penalties, and incarceration for criminal offenses. There is no language in these sections that

would imply a cause of action exists to allow Plaintiff to seek a remedy for these criminal statutes

in this action.”); Cleveland v. Xiong, 2023 WL 100871, at *5 (E.D. Cal. Jan. 4, 2023) (no civil

cause of action for statute that “provide[s] for fines or incarceration for criminal offenses”).4 And



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          Congress also knows how to withhold such authority. E.g., New York v. Facebook, Inc.,
549 F. Supp. 3d 6, 38-39 (D.D.C. 2021) (“Congress, however, specifically rejected an amendment
that would have authorized the attorney general of any State to bring a suit in the name of the
United States to enforce any of the antitrust laws.”) (cleaned up), aff’d sub nom. New York v. Meta
Platforms, Inc., 66 F.4th 288 (D.C. Cir. 2023).
        4
          To the extent USVI is seeking “restitution” or “disgorgement,” the same analysis applies.
First, by disavowing any “proprietary damages of any kind,” USVI concedes it is not a “victim”
to whom restitution could be due under 18 U.S.C. § 1593(b)(1). And TVPA “restitution” applies



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USVI cannot evade these principles by claiming some “deterrence” based free-floating punitive

damages award for the reasons already explained.

        Indeed, even if Congress did authorize USVI to impose the TVPA’s criminal sanctions—

including its provision for fines—USVI certainly could not do so retroactively. Congress created

USVI’s “civil remedy” in 2018. This Court permitted USVI to seek “damages” predating 2018,

MTD Opp. 7, solely because USVI’s cause of action encompassed conduct already within the

“private right of action” Congress provided victims in 2003, id. at 23; id at 21. As the Court

explained, “in 2018, when Congress empowered state attorneys general to assert TVPA claims, it

merely gave a new set of plaintiffs the right to vindicate potential liabilities [that] already existed,”

i.e., the “civil liability” Congress created in 2003. MTD Order 23. But if Congress had authorized

USVI to seek criminal penalties, retroactive application of that authority would not only violate

this Court’s rulings and the strong “presumption against statutory retroactivity.” Landgraf, 511

U.S. at 286. It would also—like USVI’s claim for a free-floating “deterrence”-focused “punitive”

damages claim—blatantly violate the “Ex Post Facto Clause [which] flatly prohibits retroactive

application of penal legislation.” Id. at 266. That was not what Congress did, and it would be

unconstitutional even if it had.




only in criminal actions, which this is not. See 18 U.S.C. § 1593(a) (restitution available “for any
offense under this chapter”) (emphasis added); § 1593(b)(2) (restitution order must accord with 18
U.S.C. §§ 3663A and 3664, governing sentencing for federal crimes); § 1593(c) (restitution
available to victim harmed “as a result of a crime under this chapter”) (emphasis added). Second,
the TVPA makes no mention of “disgorgement” in any provision, and like with fines and penalties,
governments may only seek “disgorgement” when imposing their own law. E.g., West Virginia
ex rel. McGraw v. JPMorgan Chase & Co., 842 F. Supp. 2d 984, 998 (S.D. W. Va. 2012) (“A state
may have a quasi-sovereign interest in ‘bringing an action to enforce its laws [and] disgorge the
proceeds of ill-gotten gains.”). In any event, “disgorgement” is strictly limited to compensating
victims regardless of USVI’s “deterrent” motivations. Liu v. SEC, 140 S. Ct. 1936, 1946 (2020).
Here, as explained above, the victims have already been compensated, and USVI lacks standing
to pursue the compensatory damages personal to victims in any event.


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       At bottom, just as no private plaintiff can leverage civil process to enforce criminal law,

USVI cannot assume for itself federal authority to prosecute 18 U.S.C. § 1591. It is a civil plaintiff

like any other. E.g., New York v. Kraft Gen. Foods, Inc., 862 F. Supp. 1030, 1033 (S.D.N.Y.)

(“The State of New York sues as parens patriae on behalf of the citizens of New York. Although

the State of New York is a governmental actor, it is considered a private party[.]”), aff’d, 14 F.3d

590 (2d Cir. 1993). And like any plaintiff, USVI must prove its own damages to “obtain” any

“relief” in the manner Congress prescribed in the “civil remedy” it allowed. 18 U.S.C. § 1595(d).

       USVI claims an interest in “deterring” sex trafficking. JPMC shares that goal, but it is

ultimately irrelevant. What is relevant is that USVI demands unlawful relief. This Court gave

USVI a narrow path as parens patriae to pursue relief to its quasi-sovereign interests in the manner

Puerto Rico sought declaratory and injunctive relief against unlawful discrimination against Puerto

Ricans generally. See Snapp, 458 U.S. at 598-599. But USVI has now abandoned even the

pretence of hewing that line. What USVI wants, despite years of selling official services to a

predator under its supervision—catering both its law and policy to serve his deviance—is more

cash: either the “compensatory damages” Epstein’s victims can and have now obtained under the

TVPA, SUMF ¶ 52, or criminal penalties only the federal executive may seek via a grand jury,

indictment, and criminal trial. It is entitled to neither. The Supreme Court does not allow any

state to simply “represent the interests of particular citizens.” Snapp, 458 U.S. at 600. And no

private plaintiff may wield the government’s sword. Summary judgment should enter on USVI’s

damages claims.

       D.      Any Damages Award to USVI Must Be Offset

       Even if USVI had a legal basis for it damages demands, any award would be offset by the

               USVI has already collected as settlement from Epstein’s Estate and                 for

alleged losses arising from the same course of conduct at issue here. Damages awarded under the


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TVPA are offset by money received to settle claims “aris[ing] from the same injuries and the same

scheme.” Wang v. Gold Mantis Constr. Decoration (CNMI), LLC, 2021 WL 2065398, at *17 (D.

N. Mar. I. May 24, 2021) (applying offsets in TVPA labor trafficking case); Canal v. Dann, 2010

WL 3491136, at *4 n.1 (N.D. Cal. Sept. 2, 2010), amended, 2011 WL 3903166 (N.D. Cal. Sept.

6, 2011) (TVPA compensatory damages offset by restitution); Oak-Jin Oh v. Soo Bok Choi, 2016

WL 11430442, at *16 (E.D.N.Y. Feb. 29, 2016) (in mixed TVPA and RICO case, “one satisfaction

rule” offset applied). USVI collected              from the Estate and

             SUMF ¶¶ 30-32. Unlike here, USVI sued the Epstein Estate in a sovereign capacity

for violation of its own laws, making clear that its claims were “distinct from … the claims of

victims … .” SUMF ¶ 30.

                                  SUMF ¶ 32. USVI has failed to calculate the total damages it

believes it is due, but in no event could any award exceed                    —the amount it has

already received. Whatever USVI’s demand, it would be reduced to nothing. There should be no

trial for USVI to pursue legally foreclosed damages theories that would be offset in any event.

II.    USVI CANNOT PREVAIL ON ITS OBSTRUCTION CLAIM AS A MATTER OF LAW

       Summary judgment should also enter on Count V, USVI’s claim that JPMC “obstructed”

enforcement of the TVPA in violation of 18 U.S.C. § 1591(d). USVI concedes it has no sovereign

or quasi-sovereign damages related to obstruction—rather, its obstruction “damages are tied not

to harm (or alleged benefit) to the Government, but to resident victims.” Dkt. 168, at 10. Further,

USVI admits that its “TVPA obstruction claim turns on federal investigations.” Dkt. 168, at 10.

Both assertions are self-defeating. As explained, parens patriae does not allow USVI to claim the

damages available to (and obtained by) the victims individually, and USVI has no standing to

pursue the federal government’s claims.




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       Regardless, even if USVI could collect damages suffered by victims based on JPMC’s

alleged obstruction of a federal investigation, no reasonable juror could find that JPMC obstructed

anything, let alone did so intentionally. Thus, whether based on USVI’s lack of standing or lack

of proof, summary judgment should enter.5

       A.      USVI Does Not Have Standing To Pursue Its Obstruction Claim

       Consistent with its general concession that it has abandoned “proprietary damages of any

kind” in favor of damages “on behalf of victims,” SUMF ¶ 52, USVI specifically confirmed its

obstruction “damages are tied not to harm (or alleged benefit) to the Government, but to resident

victims.” Dkt. 168, at 10. As already explained, parens patriae does not permit a state to recover

a “monetary award … sought solely for injury to … the state’s citizens,” Seneci, 817 F.2d at 1017,

or an award “designed solely to reimburse [third party victims] for harm to their interests,”

Operation Rescue, 80 F.3d at 71-72. The Court allowed the Doe plaintiffs to proceed on their

obstruction claim in the related case because, the Court reasoned, they could (and did) claim to be

“victims” of obstruction within the meaning of 18 U.S.C. §§ 1591(d) and 1595(a), with their own

personal damages. MTD Order 33-34. But USVI can claim no such thing—it has eschewed

“proprietary damages of any kind,” SUMF ¶ 52, and conceded it can prove no “harm … to the

Government,” Dkt. 168, at 10. USVI is therefore “only a nominal party without a real interest of

its own,” Snapp, 458 U.S. at 600, and does “not have standing under the parens patriae doctrine,”

id.



       5
          JPMC further reiterates and preserves its argument, not accepted by the Court at the
motion to dismiss stage, that the only “victim” of the obstruction of enforcement targeted in
§ 1591(d) is the federal government—the entity “enforcing” the criminal penalties—and not any
private individuals. See, e.g., Doe v. Fitzgerald, 2022 WL 425016, at *4 (C.D. Cal. Jan. 6, 2022)
(private plaintiffs have no private right of action under § 1591(d)); see also Gilbert v. U.S. Olympic
Comm., 423 F. Supp. 3d 1112, 1143 (D. Colo. 2019) (§ 1591(d) concerns only government
enforcement, not investigation by private party).

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       Similarly, USVI lacks standing to advance its theory that JPMC obstructed a federal

investigation. Such a claim would belong to the federal government alone. Had USVI conducted

its own investigation into Epstein (rather than facilitate his crimes)—it could seek relief against

obstruction of that hypothetical effort. But USVI did no such thing. Former Governors John de

Jongh and Kenneth Mapp—whose tenures covered 2007 to 2015, and 2015 to 2019, respectively—

admitted that they never cared to investigate Epstein during their collective 12-year tenure in

office. SUMF ¶ 25. Despite Epstein’s indictment in 2019, and being aware that Epstein “copped

a plea to having sex with a hooker who was under age,” current Governor Albert Bryan Jr. “turned

[his] attention elsewhere” after learning that “none of [Epstein’s] victims were from the Virgin

Islands.” SUMF ¶ 26. And even as to USVI’s oft-repeated (and factually baseless) complaint

that




                                                                    SUMF ¶ 29. In other words,

USVI did nothing to investigate Epstein,

       In sum: USVI does not and cannot claim it was harmed as a government by any alleged

obstruction, and it cannot invoke parens patriae as a talisman to subsume the obstruction claims

of actual victims. USVI has no standing to bring its own obstruction claim, and summary judgment

should enter.

       B.       USVI Cannot Establish The Elements Of Its Obstruction Claim




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       Even if USVI had standing, no reasonable juror could find that JPMC intentionally

obstructed anything. As this Court explained, a plaintiff alleging “obstruction” of the TVPA must

prove the defendant “(1) kn[e]w of an effort to enforce the TVPA and (2) intentionally obstruct[ed]

or attempt[ed] to obstruct that enforcement effort.” MTD Order 32-33 (quoting United States v.

Farah, 766 F.3d 599, 612 (6th Cir. 2014)).6 The record is devoid of any facts to support either

element.

       First, no reasonable juror could find that JPMC actually “kn[e]w of an effort to enforce the

TVPA.” MTD Order 32-33. USVI bears the burden as to every element of every claim, and it has

marshalled no evidence of an ongoing federal investigation into Epstein that JPMC somehow

obstructed. It is undisputed that no federal law enforcement agency made any inquiry of JPMC or

otherwise alerted JPMC to any investigation, whether under the TVPA or otherwise. SUMF ¶¶ 37-

39, 42, 51. USVI will surely point to various news articles in 2010 and 2011 that speculated as to

potential federal charges and crimes and were discussed internally at JPMC. As to Count I, those

articles and emails present questions of fact unfit for resolution at summary judgment. But the

bottom line as to “obstruction” under Count V is that USVI must identify facts that allow a jury to

conclude that JPMC actually “kn[e]w” of a federal TVPA investigation and took “intentional[]”

steps to thwart it. There are no such facts.

       Rather, while JPMC has no burden to prove it didn’t obstruct an investigation, here is what

the undisputed record shows: Following the news articles (in The Daily Beast, New York Post,

and Gawker) in 2010 and 2011 on which USVI relies, JPMC affirmatively reached out to Epstein’s



       6
         Though USVI appears to allege that JPMC was aware of private lawsuits against Epstein,
private lawsuits are not “effort[s] to enforce the TVPA” within the meaning of § 1591(d), which
requires actual knowledge of government enforcement. See Gilbert, 423 F. Supp. 3d at 1143
(“Obstruction of a private investigation does not give rise to liability under Section 1590(b) or
1591(d).”)

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lawyers to inquire whether there was any federal investigation. SUMF ¶¶ 33-36. They denied it.

SUMF ¶¶ 34-36. JPMC then affirmatively reached out to the United States Attorney for the

Southern District of Florida. SUMF ¶ 37. He could not confirm whether there was any federal

case. SUMF ¶ 37. JPMC also reached out to the FBI. SUMF ¶ 38. They never returned the phone

call. SUMF ¶ 38.   Affirmatively reaching out to the potential target of a federal investigation—

and to the federal government itself—is not “obstruction” of a federal investigation. It is the

opposite.

       What is more, JPMC repeatedly alerted the federal government to Epstein.




       First, between 2002 and 2013, JPMC filed approximately 150 CTRs related to Epstein and

his accounts in which JPMC identified its relationship with Epstein,

                                                                          SUMF ¶ 40. Seventy-

three of these CTRs were filed before Epstein was arrested in July 2006. SUMF ¶ 41. Law

enforcement never reached out to JPMC in response to any CTR. SUMF ¶ 42.



                                SUMF ¶ 43.




                                                        SUMF ¶¶ 47, 48.




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                                                               SUMF ¶¶ 47, 48.




               SUMF ¶¶ 49-50.

                                                                          SUMF ¶ 51. Once again,

USVI must prove that JPMC intentionally obstructed the federal government’s enforcement of the

TVPA.

      , and no reasonable juror could conclude that JPMC intentionally obstructed enforcement

of the TVPA.

        Finally, USVI argues that



Even taking this argument on its strongest terms—

                                                                 —does not prove “intentional[]

obstruct[ion].” MTD Order 33. There is no evidence that JPMC



      . On that basis alone summary judgment should enter.

        But the argument fails for multiple other reasons too. For one,



The FBI was already in possession of information acquired from its investigation into Epstein

between 2006 and 2008 (including the names of at least thirty-three alleged victims)—but



regardless. SUMF ¶¶ 7, 8.

                                                              —again, law enforcement knew the




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identities of dozens of victims and Epstein’s co-conspirators, and federal authorities never

expressed any concerns over the sufficiency of the evidence against Epstein in explaining why he

received the Non-Prosecution Agreement instead of federal charges.                   USVI’s own law

enforcement expert

                                               . SUMF ¶ 9.

                                                                        , and thus there is no basis for

USVI’s argument.

                                                   ***

           In retrospect, JPMC regrets its relationship with Epstein and wishes it exited him as a client

sooner. But that is not the same thing as intentionally obstructing a federal TVPA investigation.

USVI has had ample opportunity to take discovery to prove that JPMC employees knew of federal

efforts to hold Epstein accountable and intentionally tried to stop it. There are no such facts, and

no reasonable juror could conclude otherwise. Rather, JPMC alerted the government about Epstein

time and again. Unfortunately, it took far too long for law enforcement to seek to bring Epstein to

justice.     But USVI’s allegations against JPMC depend on speculation as to the federal

government’s charging decisions, i.e., “‘the unfettered choices made by independent actors not

before the Court.’” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 n.5 (2013). USVI cannot

proceed on such a claim to trial—summary judgment must enter.

III.       USVI’S TVPA CLAIMS CANNOT APPLY RETROACTIVELY TO CONDUCT MADE LIABLE
           BY THE TVPA’S 2008 AMENDMENTS

           Finally, the bar against retroactive application of the TVPA limits the scope of USVI’s

claims as a matter of law. As already explained, USVI asserts two claims as parens patriae

pursuant to 18 U.S.C. § 1595(d). First, it alleges that JPMC “knowingly and intentionally

participated in Epstein’s sex trafficking venture” and “benefitted from and received value for its



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participation” in violation of 18 U.S.C. § 1591(a)(2) (Count I). SAC ¶¶ 102-119. Second, it

alleged that JPMC intentionally obstructed a federal TVPA investigation in violation of 18 U.S.C.

§ 1591(d) (Count V). Id. ¶¶ 147-168. Both claims are severely cabined by this Court’s and the

Second Circuit’s holdings regarding the TVPA’s retroactivity, and summary judgment clarifying

the scope of USVI’s claims should enter accordingly.

       A.      Count V (Obstruction) Cannot Apply To Pre-2008 Conduct

       The relevant statutory history of USVI’s obstruction claim is straightforward. That cause

of action, arising under § 1591(d), first surfaced on December 23, 2008. See Pub. L. 110-457, 122

Stat. 5044, 5069 (Dec. 23, 2008). TVPA “obstruction,” as a category of actionable conduct, did

not exist prior to that time—it was available neither to the government in criminal cases, nor to

any class of civil plaintiffs. It follows from this Court’s holdings and Velez v. Sanchez, 693 F.3d

308 (2d Cir. 2012), that any application of USVI’s obstruction claim to pre-December 2008

conduct is impermissibly retroactive. “Nothing in the language of the TVPRA or its legislative

history indicates that Congress intended retroactive application,” Velez, 693 F.3d at 325, and the

creation of a brand new category of actionable conduct is self-evidently an impermissible

“increase[]” of a “party’s liability for previously occurring conduct,” id. If the creation of a new

criminal law (like “obstruction” here) does not “increase[] parties’ liabilities,” MTD Order 20,

then nothing does. Summary judgment should accordingly enter precluding any application of

§ 1591(d) to alleged pre-December 2008 conduct that USVI claims constitutes “obstruction.”

       B.      USVI Must Prove A “Knowing” Violation Of The TVPA Prior To 2008

       The prohibition against retroactive application of the TVPA also curtails the scope of

USVI’s claim for a violation of 18 U.S.C. § 1591(a)(2). USVI’s parens patriae claim under 18

U.S.C. § 1595(d), on its own terms, can only be brought against a “person who violates section

1591.” In its original form, § 1591 criminally prohibited only “knowingly” benefiting from


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participating in a sex trafficking venture, while also “knowing that force, fraud, or coercion … will

be used to cause [a victim] to engage in a commercial sex act.” Pub. L. 106-386, 114 Stat. 1464,

1487 (Oct. 28, 2000). Then, in 2008, Congress amended § 1591, expanding criminal liability to

those who not just “know,” but “reckless[ly] disregard” that “force, threats of force, fraud, [or]

coercion” will be used by a “venture” to cause a “commercial sex act.” See Pub. L. 110-457, 122

Stat. 5044, 5069 (Dec. 23, 2008). Thus, in 2008, Congress expanded § 1591’s mens rea

requirement, and thus “increase[d] a party’s liability.” Velez, 693 F.3d at 325. Before December

2008, the law was clear and stringent: liability attached only to those who “knowingly”—who

actually knew—that they were benefitting from participation in a sex trafficking venture. Nothing

less was actionable civilly or criminally.

       The implications here are clear. To the extent that USVI seeks relief from JPMC under §

1591(a) for conduct pre-dating December 2008, it must prove that JPMC “knowingly” benefitted

from participation in Epstein’s sex trafficking with full knowledge of that trafficking—not that it

acted with “reckless disregard[].” See Pub. L. 106-386, 114 Stat. 1464, 1487 (Oct. 28, 2000) (pre-

2008 liability under § 1591). JPMC of course denies any such knowledge (both before 2008 and

otherwise), and the record is devoid of any facts to support any such allegation. But at the very

least, the Court should clarify the scope and nature of this claim if it goes forward: that USVI

cannot prevail on any claim that JPMC “reckless[ly] disregarded” the existence of a sex trafficking

venture in which it allegedly participated, or obstructed a federal TVPA investigation, prior to

December 2008. Rather, for any alleged conduct predating December 2008, USVI must satisfy

the TVPA’s pre-2008 requirements of actual knowledge—just as Landgraf, Velez, and this Court’s

holdings require.




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                                        CONCLUSION

        Summary judgment should enter for JPMC and against USVI on Count V (obstruction)

and on both Counts with respect to USVI’s demands for monetary relief. In the alternative,

summary judgment should enter on Count V (obstruction) with respect to any alleged pre-

December 2008 alleged conduct, and on Count I insofar as USVI alleges that JPMC acted with

reckless disregard rather than with actual knowledge of a sex trafficking venture prior to December

2008.



 Dated: July 24, 2023                              Respectfully submitted,

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